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VAN−059 Order Regarding Adminstration of Estate − Rev. 01/05/2016

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
IN RE:
CAH Acquisition Company # 4, Inc.                                   CASE NO.: 19−01228−5−JNC
PO Box 953119
Saint Louis, OK 63195                                               DATE FILED: March 17, 2019

TaxID: 26−1740680                                                   CHAPTER: 11




                                  ORDER REGARDING ADMINISTRATION OF ESTATE

This order is entered to aid in the administration of this estate and to carry out the provisions of chapter 11
of the Bankruptcy Code (11 U.S.C. § 105).

Pursuant to § 302(d)(3)(I)(ii) of the Bankruptcy Judges, United States Trustees and Family Farmer
Bankruptcy Act of 1986, the bankruptcy administrator is responsible for supervising the administration of
chapter 11 estates. In undertaking this responsibility, the bankruptcy administrator supervises compliance
by the debtor−in−possession/chapter 11 trustee with the requirements set out in Local Bankruptcy Rule
4002−1(c), EDNC, as well as any other requirements ordered by the court or prescribed by the bankruptcy
administrator to ensure the successful, orderly administration of a case. Failure to comply with this order
may result in dismissal or conversion of the case to a case under chapter 7 or other appropriate action by
the court. Accordingly,

IT IS ORDERED THAT:

      1. The debtor(s) shall comply with the requirements set forth in U.S.C. § 521, in Local Bankruptcy
         Rule 4002−1(c), EDNC, any other applicable provisions contained in the Local Bankruptcy Rules,
         EDNC, in the Interim Rules of Bankruptcy Procedure for the Eastern District of North Carolina, in
         the Bankruptcy Code, and in 28 U.S.C. § 1930 and the Federal Rules of Bankruptcy Procedure.

      2. The debtor−in−possession/chapter 11 trustee shall cooperate with and be accountable to the
         bankruptcy administrator and in doing so, shall attend meetings and site visits scheduled by the
         bankruptcy administrator and shall file with the court regular reports of operations in such form and
         frequency as the bankruptcy administrator shall reasonably require.

      3. Individual debtors must be current with any domestic support obligations before their plan may be
         confirmed.

      4. If the debtor is an individual, the debtor must provide a picture identification (ID) and the debtor's
         social security card at the 341 meeting of creditors.

      5. An automatic stay goes into effect immediately upon filing the petition and prohibits creditors from
         taking any action to collect most pre−bankruptcy debts. This means no lawsuits, no repossessions,
         no threatening telephone calls and no collection letters. Under certain circumstances, the stay may
         be limited to 30 days or may not exist at all.

DATED: March 18, 2019




                                                                       United States Bankruptcy Judge
